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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------- x
                                         :
HARBINGER F&G, LLC,                      : No. 12-civ-5315 (RA)
                                         :
                         Plaintiff,      : ECF Case
v.                                       :
                                         :
OM GROUP (UK) Limited,                   :
                                         :
                         Defendant.      :
---------------------------------------- x

                DECLARATION OF KONSTANTINOS (GUS) CHELIOTIS

       I, Konstantinos (Gus) Cheliotis, hereby declare as follows:

       1.       I serve as Vice President and Investment Counsel at Harbinger Group, Inc.

(“HGI”), the parent company of Harbinger F&G, LLC (“Harbinger”). I advised Harbinger as its

in-house counsel on the transaction at issue in this litigation. I submit this declaration based on

personal knowledge in support of Harbinger F&G LLC’s (“Harbinger”) motion for summary

judgment against OM Group (UK) Limited (“OM”).

                                           Background

       2.       I received my J.D., summa cum laude, from New York Law School and have over

ten years of experience practicing law. From 2002 to 2010, I was an associate at Milbank,

Tweed, Hadley & McCloy LLP, in the firm’s Merger & Acquisitions group. While at Milbank, I

represented public and private companies in connection with mergers and acquisitions in a

variety of industries, including insurance. I joined Harbinger Capital Partners, the majority

owner of Harbinger’s parent company, HGI, in May 2010 and moved to HGI in June 2012.
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                                           Negotiations

        3.       On August 5, 2010, Harbinger and OM entered into the Stock Purchase

Agreement (the “Original SPA”) for the acquisition by Harbinger of the company now known as

Fidelity and Guaranty Life Insurance Company (“FG Life”) (the “Acquisition”). As internal

counsel for Harbinger, I assisted with negotiations and reviewed drafts of the Original SPA. See

Original SPA.1

        4.       A significant portion of the economic benefits that Harbinger expected to derive

from the Acquisition would come from the reinsurance transaction (the “Reinsurance

Transaction”) contemplated between FG Life and Harbinger’s subsidiary, Front Street Re Ltd.

(“Front Street”). Harbinger specializes in managing below-investment-grade assets. Through

the Reinsurance Transaction, Harbinger intended to utilize its competency to manage $1 billion

of below-investment-grade assets.

        5.       The Original SPA protected Harbinger’s economic interests in the Reinsurance

Transaction by, among other things, making regulatory approval of the Reinsurance Transaction

a condition to the closing of the Acquisition. Id. at Section 7.2(a).

        6.       Harbinger submitted a draft Form D application for the Reinsurance Transaction

on September 17, 2010 under the Original SPA. See Ex. 10 at HARB-E0120206 (Potter Feb. 18,

2011 Ltr.). 2




1
    The Original SPA is attached as Exhibit 3 to the Declaration of Olga Kaplan in Support of
    Plaintiff/Counterclaim Defendant Harbinger F&G, LLC’s Motion for Summary Judgment
    dated October 4, 2013 (“Kaplan Declaration”).
2
    “Ex. __” refers to the exhibits attached to the Kaplan Declaration.
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       7.       Beginning in January 2011, Harbinger and OM negotiated an Amended and

Restated Stock Purchase Agreement (the “SPA”). I assisted with negotiations and reviewed

drafts of the SPA.

       8.       During these negotiations, OM sought to remove regulatory approval of the

Reinsurance Transaction between FG Life and Front Street as a closing condition to the SPA.

Ex. 8, Plaintiff’s Exhibit (“PX”) 32, at OM-HARB-0002940. Specifically, OM requested that

“the condition as to approval of the ‘Reinsurance Transaction’ (i.e. the Front Street transaction)

[be] deleted” from the original Stock Purchase Agreement dated August 5, 2010 (the “Original

SPA”) and that Harbinger wait to seek regulatory approval of the Reinsurance Transaction until

after the Acquisition closed. Id.

       9.       As it had previously advised OM, Harbinger responded that its ability to manage

$1 billion in below-investment-grade assets as part of the Reinsurance Transaction was central to

the deal and constituted a significant portion of the economic benefits that Harbinger sought to

derive from the Acquisition. See Ex. 9, PX 33, at OM-HARB-0002944. Harbinger specializes

in managing distressed assets and intended to manage the $1 billion of below-investment-grade

assets in accordance with its investment approach.

       10.      Harbinger agreed to eliminate regulatory approval for the Reinsurance

Transaction as a closing condition in exchange for OM’s promise to reduce the Acquisition

purchase price by $50 million if regulatory approval was not forthcoming. Id. at OM-HARB-

0002945.




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       11.     The terms of this post-closing purchase price adjustment were set forth in Section

5.21 of the SPA, dated February 17, 2011. See SPA at Section 5.21.3

       12.     By letter to the Maryland Insurance Administration (the “MIA”) dated February

18, 2011, Harbinger withdrew the draft Form D submitted on September 17, 2010, and described

the changes in the SPA with respect to the Reinsurance Transaction. Ex. 10 at HARB-

E0120205-09 (Potter Feb. 18, 2011 Ltr.).

       13.     FG Life is domiciled in Maryland, and is regulated primarily by the MIA.

Because the Reinsurance Transaction was between two affiliated companies, FG Life and Front

Street, approval of the MIA pursuant to a “Form D” application was required.

       14.     FG Life’s then-Chief Financial Officer Barry G. Ward and FG Life’s General

Counsel Eric Marhoun led the efforts to obtain MIA approval of the Reinsurance Transaction

because of their extensive experience with the MIA. They began working on gaining approval of

the Form D prior to the close of the Acquisition, while FG Life was still part of OM, and they

continued these efforts after the close of the Acquisition, when FG Life became part of

Harbinger.

       15.     I reviewed drafts of the Form D application, which was submitted to the MIA on

July 26, 2011. Following the Form D submission, the MIA sent Harbinger and FG Life

numerous questions about the Reinsurance Transaction. I assisted with responding to these

requests. During the five-month pendency of the Form D review, Harbinger did everything it

reasonably could to get the Reinsurance Transaction approved because this transaction would

have provided substantial economic benefits to Harbinger and its subsidiaries.


3
    The SPA is attached as Exhibit 1 to the Kaplan Declaration.

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                                Reinsurance Transaction Denial

       16.     On December 22, 2011, I was informed by HGI’s Managing Director of

Investments Phil Gass, Mr. Ward and/or Mr. Marhoun, that the MIA had disapproved the

Reinsurance Transaction, first, because the MIA was concerned about the risks associated with

supporting FG Life’s obligations with the size of below-investment-grade assets permitted by the

investment guidelines and, second, because it appeared to the MIA that the sale of certain assets

would generate an unreasonable amount of unrealized gains for Front Street that would be unfair

to FG Life.

       17.     Between the December 22nd call from the MIA and the January 10, 2012 denial

letter, OM expressed concerns about obtaining a final denial letter from the MIA because OM

believed the letter would make it more difficult to change the MIA’s decision. This is not

something I agreed with because I felt a final denial letter would provide a clear understanding

for the basis of the MIA’s denial, which Harbinger and OM could utilize in trying to agree on an

alternative transaction. Nevertheless, Harbinger was willing to explore with OM and the MIA

alternatives to obtaining a final denial letter, so long as this would not undermine the timing with

respect to dealings with the MIA and the possible purchase price adjustment.

       18.     I spoke to Michael Devins, Harbinger’s outside counsel at Debevoise & Plimpton

LLP about potential solutions that would address OM’s concerns about obtaining a final order,

including requesting the MIA delay the final order for 150 days while the parties revised the

transaction. I understand that Mr. Devins presented these proposals to OM and stated that

Harbinger was open to any suggestion from OM. OM rejected our proposals and declined to

present any alternative.



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       19.      On January 10, 2011 the MIA sent a formal disapproval letter stating that it had

disapproved the Transaction because of two concerns, first, that the amount of below-

investment-grade assets in the Trust Account could have an adverse effect on FG Life’s

policyholders and, second, that the amount of unrealized gains to be ceded from FG Life to Front

Street was unfair to FG Life. Ex. 37, Defendant’s Deposition Exhibit (“DX”) 7, at HARB-

E0140247-51.

       20.      On the first point, the MIA stated:

                [W]e believe that the structure of the proposed transaction
                potentially adversely affects the interests of F&G Life’s
                policyholders. This is a result of the significant increase in the
                amount of below-investment-grade assets ultimately supporting
                F&G Life’s policyholder obligations under the proposed
                transaction. . . . The proposed transaction provides that the
                investment-grade assets would be sold, and the proceeds reinvested
                in below-investment-grade assets. While the Company believes
                the investment manager would employ an appropriate investment
                strategy to mitigate the risk from below-investment-grade assets,
                there is no assurance that the investment manager will successfully
                mitigate the risks. Furthermore, it is unclear that [Front Street]
                could safely generate sufficient investment returns from the assets
                in the trust account in order to meet its obligations under the treaty,
                given its plans to invest in below-investment-grade assets. Id. at
                HARB-E0140250.

       21.      FG Life (and Harbinger) hired Ralph Tyler, a MIA Commissioner, to assist in

attempting to persuade the MIA to reverse its decision not to approve the Reinsurance

Transaction. Although we were not obligated to seek a revised transaction under the SPA, we

wanted to get a deal done because it would provide substantial benefits to us and our

subsidiaries.

       22.      Less than a week after receiving the written denial, we contacted the MIA and

scheduled a meeting for January 23, 2012. Before the meeting occurred, however, we learned

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that the MIA was under the mistaken impression that we had been provided, and reviewed, the

report from Lewis & Ellis, Inc., their outside actuarial firm. With OM’s consent, we postponed

this meeting with the MIA to review the Lewis & Ellis report, which was now provided.

       23.     On or about January 20, 2012, the MIA provided Harbinger with the Lewis &

Ellis report, which informed the MIA’s decision. The Lewis & Ellis report evaluated the

Reinsurance Transaction and laid out the same objections found in the MIA’s denial letter. See

Ex. 40, DX 8, at HARB-E0136254-65.

       24.     Our actuaries identified a number of errors in the Lewis & Ellis report that

appeared related to the MIA’s second stated concern about the amount of unrealized gains being

transferred to Front Street. We asked to meet with Lewis & Ellis, but were denied that

opportunity. We had our outside actuarial firm, Milliman, Inc., submit a written report to the

MIA on February 9, 2012 identifying and correcting the errors in the Lewis & Ellis report. Ex.

47, DX 12, at HARB-E0001215-16. We then scheduled an in-person meeting with the MIA

Commissioner and her staff for February 14, 2012.

       25.     I participated in the February 14, 2012 meeting with the MIA. The participants

from Harbinger, Front Street and FG Life included Messrs. Gass, Ward, Marhoun, Tyler and

Devins and Laird Zacheis, Harbinger’s actuarial consultant, and John Tweedie, Front Street’s

Chief Executive Officer. OM’s outside counsel also participated in the meeting. Present for the

MIA were Commissioner Therese Goldsmith and Assistant Attorney General Van Dorsey. The

Commissioner stated that the two reasons provided in the denial letter, concerning the amount of

below-investment-grade assets and the unrealized gains, were the only two reasons for the

denial. She also informed us that these two reasons each served as an independent basis for the

denial and that the MIA did not have any concerns about Harbinger as asset manager. The
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Commissioner declined to discuss the Reinsurance Transaction in further detail until FG Life

waived its right to an appeal.

       26.     I understood that OM agreed with Harbinger that waiving the right to appeal was

the best course of action. Therefore, FG Life waived its right to an appeal.

       27.     Harbinger then scheduled another meeting with the MIA on March 15, 2012. At

that meeting, the MIA staff objected to the investment guidelines, specifically concerning the

size of, and quality of assets in, the trust account because, in their view, the existing guidelines

created significant risks to FG Life they would not tolerate.

       28.     After the March 15 meeting, on that same day, we held an internal meeting.

Everyone agreed that the MIA had made clear that the transaction would not be approved with

the existing investment guidelines and that any deal revised to attempt to satisfy the MIA would

not preserve the benefits we had bargained for with respect to the Reinsurance Transaction. The

investment guidelines and the amount in the Trust Account could not be altered without reducing

the economics of the deal and constituting an Adverse Reinsurance Transaction Condition or

Restriction. We also agreed that the unrealized gain issue could be remedied through further

discussions but did not matter, given the MIA’s position on the investment guidelines.

       29.     We reached out to OM to see if they had any viable proposals. I assisted Mr.

Gass in connection with these efforts.

       30.     In response to our request for alternatives to the Reinsurance Transaction, OM

sent us, on May 2, 2012, one written proposal. Ex. 61, DX 82, at OM-HARB-0005487-501.

This proposal capped the amount of below-investment-grade assets at $500 million. Id. at OM-

HARB-0005489. It stated that an additional $500 million in below-investment-grade assets may


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be transferred “following the satisfaction of investment performance criteria to be agreed by the

[MIA],” with no details about what the criteria would be. Id. at OM-HARB-0005489-90.

           31.   Harbinger did not view the investment performance criteria as a practical solution.

We would receive substantially lower returns prior to the satisfaction of these criteria, and we

had no protection if the criteria were never satisfied. OM’s proposal significantly reduced

Harbinger’s economic benefit from the transaction and essentially transferred the risk of the

disapproval of the Reinsurance Transaction to Harbinger, which was not what Harbinger had

bargained for as part of the Acquisition.

           32.   We reviewed and considered OM’s proposal, including its implications under the

SPA. Messrs. Devins, Gass and I had a phone conference with OM and asked OM a series of

questions, including about the investment performance criteria. OM had no specifics to share

with us.

           33.   We concluded and informed OM that their proposal would constitute an Adverse

Reinsurance Transaction or Condition and was consistent with our conclusion that no revised

transaction that met the terms contemplated by the SPA could satisfy the MIA. We told OM that

we were open to additional proposals from them, but they did not send us any other proposal.

Ex. 62, PX 76, at HARB-E0112014.

           34.   Prior to initiating this litigation, Omar Asali, the President of Harbinger, and

Philip Broadley, the Group Finance Director of OM’s parent company, spoke by telephone and

corresponded by email in an attempt to resolve the parties’ dispute. I participated in those

efforts.

           35.   OM did not reimburse Harbinger the Post-Closing PP Reduction.


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                            The Revised Reinsurance Transaction

       36.     On September 28, 2012, FG Life submitted a new Form D to the MIA for a

revised reinsurance agreement with Front Street (the “Revised Reinsurance Transaction”).

Ex. 65, DX 115, at HARB-E0137021-139. This transaction was approved by the MIA on

December 13, 2012. I participated in discussions about the terms for this transaction and

reviewed drafts of the Form D prior to submission.

       37.     The terms of the Revised Reinsurance Transaction differ significantly from the

original Reinsurance Transaction. The Revised Reinsurance Transaction is for $1.5 billion

transaction, with below-investment-grade assets at $500 million. Id. at HARB-E0137021-22.

The original Reinsurance Transaction was for $3 billion, with below-investment-grade assets

capped at $1 billion. In addition the investment guidelines in the Revised Reinsurance

Transaction were markedly different from those in the Reinsurance Transaction, which permitted

a higher percentage of the riskiest below-investment-grade assets. See Term Sheet.4

       38.     Before ultimately accepting the Revised Reinsurance Transaction, the MIA asked

us to consider capping the amount of below-investment-grade assets under management at $100

million. Ex. 66 at HARB-E0158408 (Marhoun Nov. 15, 2012 Ltr.).

                                  Government Investigations

       39.     I understand that OM contends that Harbinger has breached its representations

and warranties under Section 4.5 of the SPA by failing to disclose litigation by the U.S.

Securities and Exchange Commission (“SEC”) and U.S. Department of Justice (“DOJ”). OM’s

Answer & Counterclaims, Dkt. No. 13, ¶¶ 111-17. OM claims that it relied on Harbinger’s


4
    The Term Sheet is attached as Exhibit 2 to the Kaplan Declaration.

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representation in entering the SPA and was damaged because the government investigations

“hindered [Harbinger’s] ability to obtain regulatory approval for the Reinsurance Transaction . .

.” Id. ¶ 116.

       40.      Specifically, OM asserts that “Harbinger’s failure to pursue an alternative

transaction with the MIA was partially motivated by Harbinger’s desire to avoid full disclosure

of investigations by the [SEC] targeting Harbinger and Philip A. Falcone for various violations

of federal securities law.” Id. ¶ 80. These contentions are a meritless attempt to distract the

Court from the simple facts surrounding the MIA’s disapproval of the Reinsurance Transaction

on two independent grounds.

       41.      Section 4.5 of the SPA states that, as of August 5, 2010 (the date of the Original

SPA), “there are no Actions pending or, to the knowledge of the Buyer, threatened in writing

against any of Buyer or its Affiliates . . .” SPA at Section 4.5. “Actions” is defined as “any

claim, action, suit, litigation, arbitration or other proceeding by or before any Governmental

Entity or arbitral body.” Id. at Section 1.1.

       42.      As of August 5, 2010, Harbinger was voluntarily participating in three informal

investigations with the SEC that were not the subject of any subpoena or written request.

Harbinger had also produced documents in response to a January 2010 subpoena from the U.S.

Attorney’s Office (“USAO”), but had not heard anything from the USAO since March 2010.

These were not pending litigations, nor litigations threatened in writing.

       43.      The SEC did not make such a threat of litigation until the issuance of Wells

Notices in December 2011, a year and a half after the representation (and ten months after the

date of the amended SPA), and the USAO never initiated any action as a result of its subpoena.


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       44.        Furthermore, OM was aware of the SEC investigations by November 15, 2010—

nearly four months before it entered into the amended SPA. In November and December 2010,

OM received briefings from Harbinger and its regulatory legal counsel concerning the

investigations.

       45.        On December 17, 2010, over seven months before Harbinger sought approval of

the Reinsurance Transaction under the amended SPA, Harbinger provided the MIA with a full

briefing of the SEC investigation. I attended this meeting along with internal and external

counsel for Harbinger, and we answered all of the MIA’s questions. During this meeting, the

MIA never stated nor implied that the SEC investigation would negatively impact their review of

the Reinsurance Transaction. Counsel for OM attended this meeting.

       46.        On March 31, 2011, several months after receiving the December 2010 briefing

on the SEC investigation, the MIA approved Harbinger and Philip Falcone as the controlling

persons of FG Life. Ex. 12 at HARB-E0142898-901 (Mar. 31, 2011 MIA Approval Ltr.).

       47.        The MIA Commissioner expressly stated at the February 14, 2012 meeting that

the identity of the parties was not a basis for the MIA’s denial of the Reinsurance Transaction.




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